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 7
      Attorneys for Plaintiff RACHAEL SHAY,
 8    on behalf of herself and all others similarly situated
 9
                           UNITED STATES DISTRICT COURT
10
                        SOUTHERN DISTRICT OF CALIFORNIA
11

12    RACHAEL SHAY, individually and            Case No. 3:20-cv-1629-JO-BLM
      on behalf of all others similarly
13
      situated,                                 CLASS ACTION
14
                   Plaintiff,                 NOTICE OF FILING OF
15
                                              REDACTED DOCUMENTS
16    v.                                      PURSUANT TO COURT’S MINUTE
                                              ORDER (DKT. 115) GRANTING
17
      APPLE INC., a Delaware corporation; DEFENDANTS’ MOTIONS TO
18    APPLE VALUE SERVICES, LLC, a SEAL
      Virginia limited liability corporation;
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      and DOES 1 through 10, inclusive,
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                   Defendants.
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                        NOTICE OF FILING OF REDACTED DOCUMENTS
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 1          Pursuant to the Court’s Minute Order (Dkt. 115) granting Defendants Apple
 2    Inc. and Apple Value Services, LLC’s (“Defendants”) Motions to Seal (Dkts. 66,
 3    75, 98), Plaintiff hereby files appropriately redacted versions of the following
 4    documents previously filed under seal in connection with Plaintiff’s Motion for
 5    Class Certification (Dkt. 59) and Plaintiff’s Reply Memorandum in support of
 6    Plaintiff’s Motion for Class Certification (Dkt. 71):
 7          • Exhibit 9 (Dkt. 60-9)
 8          • Exhibit 10 (Dkt. 60-10)
 9          • Exhibit 16 (Dkt. 61-3)

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            • Exhibit 17 (Dkt. 61-4)

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            • Exhibit 18 (Dkt. 61-5)
            • Exhibit 19 (Dkt. 61-6)
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            • Exhibit 20 (Dkt. 61-7)
13
            • Exhibit 30 (Dkt. 72-4)
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            • Exhibit 31 (Dkt. 72-5)
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                                             Respectfully Submitted,
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      Dated: March 8, 2024                   JAMES HAWKINS APLC
19
20                                           By:    /s/ Mitchell J. Murray
21                                                  James R. Hawkins
                                                    Christina M. Lucio
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                                                    Mitchell J. Murray
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24                                           Attorneys for Plaintiff
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                        NOTICE OF FILING OF REDACTED DOCUMENTS
